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                      13                          IN THE UNITED STATES DISTRICT COURT

                      14                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

                      15                                      SAN JOSE DIVISION

                      16

                      17   ACTIAN CORPORATION,                             Case No. 4:24-cv-05064-HSG
                      18                    Plaintiff,                     SS&C TECHNOLOGIES, INC.’S
                                                                           NOTICE OF MOTION AND MOTION
                      19          v.                                       TO DISMISS COMPLAINT;
                                                                           MEMORANDUM OF POINTS AND
                      20   SS&C TECHNOLOGIES, INC.,                        AUTHORITIES
                      21                    Defendant.                     Date:       January 9, 2025
                                                                           Time:       2:00 p.m.
                      22                                                   Dept:       Oakland, Courtroom 2
                                                                           Judge:      Judge Haywood S. Gilliam, Jr.
                      23                                                   Trial Date: None Set
                                                                           Date Action Filed: August 12, 2024
                      24
                                                                          Filed/Lodged Concurrently:
                      25                                                  1) Declaration of Christen Bremner;
                                                                          2) Declaration of Michael Emmons; and
                      26                                                  3) [Proposed] Order
                      27

                      28
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW        SS&C TECH’S NOTICE OF MOTION AND                                CASE NO. 4:24-CV-05064-HSG
                           MOTION TO DISMISS COMPLAINT
                           Case 4:24-cv-05064-HSG          Document 25          Filed 10/29/24     Page 2 of 27



                       1                NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
                       2          PLEASE TAKE NOTICE that on January 9, 2025 at 2:00 p.m., or at such later date and
                       3   time as the Court may order before the Honorable Haywood S. Gilliam, Jr., United States District
                       4   Judge, in the United States District Court for the Northern District of California, Courtroom 2,
                       5   located on the 4th Floor of 1301 Clay Street, Oakland, California 94612, Defendant SS&C
                       6   Technologies, Inc. (“Defendant”) will and hereby does move pursuant to Federal Rules of Civil
                       7   Procedure (“FRCP”) 12(b)(2) to dismiss each and every cause of action in Plaintiff Actian
                       8   Corporation’s (“Plaintiff”) Complaint for lack of personal jurisdiction. Additionally, Defendant
                       9   moves to dismiss each and every cause of action in Plaintff’s Complaint for improper venue
                      10   pursuant to FRCP 12(b)(3). Finally, Defendant moves to dismiss each and every cause of action
                      11   in Plaintiff’s Complaint for failure to state a claim pursuant to FRCP 12(b)(6).
                      12          This Motion is based upon this Notice of Motion and Motion, the attached Memorandum
                      13   of Points and Authorities, the accompanying Declaration of Christen Bremner, the accompanying
                      14   Declaration of Michael Emmons, Proposed Order, the Court’s files in this action, the oral
                      15   argument of counsel at the hearing and on such materials, and evidence as may be presented to
                      16   the Court.
                      17
                           Dated: October 29, 2024                              Respectfully submitted,
                      18

                      19
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GOODWIN PROCTER LLP
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   ATTORNEYS AT LAW        SS&C TECH’S MP&A ISO MOTION TO                                                                     CASE NO. 4:24-CV-05064-HSG
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                       1                        MEMORANDUM OF POINTS AND AUTHORITIES
                       2   I.      INTRODUCTION.
                       3           Plaintiff Actian Corporation’s (“Actian”) flawed attempt to use its misinformed complaint
                       4   (“Complaint” or “Compl.”) to pressure Defendant SS&C Technologies, Inc. (“SS&C Tech” or
                       5   “Defendant”) into renewing an expired OEM (Original Equipment Manufacturer) agreement
                       6   should be rejected for multiple reasons.
                       7           First, Actian has not demonstrated and cannot sustain its burden to demonstrate that this
                       8   Court has personal jurisdiction over SS&C Tech. SS&C Tech is organized under the laws of
                       9   Delaware and has its principal place of business in Connecticut. The sole contract between
                      10   SS&C Tech and Actian is an OEM agreement SS&C Tech negotiated with Actian’s predecessor,
                      11   Pervasive Software Inc. (“Pervasive”), a Texas company, which had no connection to California.
                      12   The OEM agreement was negotiated and executed outside of California; its choice-of-law
                      13   provision calls for the application of New York law; and its forum-selection clause designates the
                      14   courts of New York or Texas—not California—as proper forums. Asserting personal jurisdiction
                      15   over SS&C Tech is improper where, as here, SS&C Tech has not availed itself of the benefits and
                      16   protections of California law. That Pervasive’s successor company (Actian) happened to be a
                      17   California company is not a sufficient basis to confer personal jurisdiction over SS&C Tech.
                      18           Second, even if the Court had such jurisdiction, in the alternative, the Complaint should be
                      19   dismissed for improper venue. Actian cannot meet its burden of showing venue is proper in this
                      20   District under 28 U.S.C. § 1391(b) because SS&C Tech is not a California resident, the alleged
                      21   events giving rise to liability occurred outside of California, the operative agreement calls for
                      22   application of New York law and designates New York or Texas as proper forums, and personal
                      23   jurisdiction is lacking.
                      24           Third, even if the Court had jurisdiction over SS&C Tech and venue were proper, in the
                      25   alternative, Actian’s Complaint fails to state a claim for relief. In Count I, Actian has not
                      26   plausibly alleged breach of contract based on any of its End-User License Agreements (singly, a
                      27   “EULA” or collectively, the “EULAs”) because SS&C Tech is not, and is not alleged to be, a
                      28   party to any such agreements. The sole agreement between Actian and SS&C Tech is the OEM
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                           SS&C TECH’S MP&A ISO MOTION TO                                         CASE NO. 4:24-CV-05064-HSG
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                       1   agreement. SS&C Tech was never an end user and never agreed to be bound by any version of
                       2   the EULA. This is apparent from not just Actian’s failure to plausibly allege SS&C Tech’s assent
                       3   to the EULAs, but also from the fact that the various “exemplary” versions of the EULAs affixed
                       4   to its Complaint are unsigned. And in Count II, Actian’s allegations are the prototype of
                       5   conclusory and formulaic recitations of the elements of a claim, which fail to plausibly allege
                       6   either direct or indirect copyright infringement. Moreover, Actian’s negligence claim (Count III)
                       7   is inextricably intertwined with Actian’s breach of contract claim rendering it barred by the
                       8   economic loss rule, and impermissibly duplicative of Actian’s contract claim.
                       9          For these reasons, SS&C Tech hereby respectfully requests the Court to dismiss the action
                      10   (i) pursuant to Federal Rule of Civil Procedure (“FRCP”) 12(b)(2) for lack of personal
                      11   jurisdiction; or (ii) in the alternative, for improper venue pursuant to FRCP 12(b)(3); or (iii) in the
                      12   alternative, for failure to state a claim pursuant to FRCP 12(b)(6).
                      13   II.    FACTUAL BACKGROUND.
                      14          Defendant SS&C Tech, incorporated in Delaware and headquartered in in Connecticut, is
                      15   a subsidiary of the Nasdaq-listed public company, SS&C Technologies Holdings, Inc., that
                      16   “develops, markets, sells, distributes and hosts computer programs and systems such as” Skyline,
                      17   which is a lease management platform, and HiPortfolio, which is a wealth management platform.
                      18   Compl. ¶ 2; see also Declaration of Christen Bremner in Support of Motion to Dismiss (“Bremner
                      19   Decl.”) ¶ 3. SS&C Tech has roughly 3,025 employees across 36 offices and spread across 31
                      20   different states. Bremner Decl. ¶ 4. Of those, a mere 137 employees, which comprise only
                      21   around 4.5% of its total employees, are spread across four leased SS&C Tech offices in
                      22   California. Id.; see also Compl. ¶ 7. SS&C Tech does not own any property in California.
                      23   Bremner Decl. ¶ 5.
                      24          On September 24, 2013, SS&C Tech and Pervasive—the then-owner of a database
                      25   management system known as Pervasive PSQL—“entered into a North American OEM
                      26   Agreement and, subsequently, Addendum Nos. 1-4” (collectively, the “OEM Agreement”).
                      27   Compl. ¶ 13, Ex. F. Pervasive was a Texas company located in Austin. Id. Ex. F at p. 1. SS&C
                      28   Tech negotiated and signed the OEM Agreement outside of California. See Declaration of
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                       1   Michael Emmons in Support of Motion to Dismiss (“Emmons Decl.”) ¶¶ 4-7. Pervasive and
                       2   SS&C Tech agreed that the OEM Agreement “constitute[d] the entire agreement between the
                       3   parties[.]” Compl., Ex. F at p. 1. SS&C Tech and Pervasive agreed that, in the event of a dispute,
                       4   jurisdiction “will be in the state and federal courts located in New York County, New York and
                       5   Travis County, Texas.” Id., Ex. F at § 15.4.2. They also agreed that the OEM Agreement itself,
                       6   as well as all disputes arising thereunder “shall be governed by the laws of the State of New
                       7   York[.]” Id. at § 15.4.1.
                       8          The OEM Agreement established SS&C Tech not as an end user of Pervasive’s software,
                       9   but as an OEM—meaning that SS&C Tech sold product suites to end users which may include
                      10   Pervasive software. See id. §§ 1.1, 1.2.2, 1.2.2, 1.3. The OEM Agreement allowed SS&C Tech
                      11   “to combine the Software with” its Skyline and HiPortfolio products to create and distribute a
                      12   bundled product defined as the “OEM Product.” Compl., Ex. F at § 1.2.1. SS&C Tech had the
                      13   “right to market and distribute the Software to those parties who use the OEM Product for their
                      14   own internal business purposes or personal use (‘End Users’) and to third parties (‘Resellers’)
                      15   who acquire the OEM Product for remarketing to End Users.” Id. at § 1.3. SS&C Tech was
                      16   required to “distribute the OEM Product with a copy of Pervasive’s end user license agreement
                      17   (the ‘Pervasive EULA’)[.]” Id. at § 3.1. SS&C Tech never agreed to be bound by the EULA
                      18   itself, nor did it ever use the product as an end user. Bremner Decl. ¶ 10. It was the customers of
                      19   SS&C Tech—the end users—that agreed to be bound by EULAs with Pervasive, not SS&C Tech.
                      20   Moreover, SS&C Tech has not, and does not, host the OEM Product on any California-based
                      21   servers. Bremner Decl. ¶ 9. SS&C Tech also does not have a single employee in California that
                      22   sold the OEM Product or who has any affiliation with the OEM Agreement. Id. at ¶¶ 4, 11. The
                      23   only California-based person with any relationship to the OEM Agreement is an outside
                      24   consultant, not employed by SS&C Tech, and whose relationship with SS&C Tech is governed
                      25   by Connecticut law. Id. at ¶ 12.
                      26          Beginning in September 2015, and starting with Addendum 1 to the OEM Agreement,
                      27   Actian succeeded Pervasive, its wholly owned subsidiary, as the party to the OEM Agreement.
                      28   Compl., Ex. F at Addendum 1. Thereafter, SS&C Tech began distributing Actian Zen software
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                       1   under the OEM Agreement (Actian Zen, with Pervasive PSQL, is referred to herein as the
                       2   “Software”). Bremner Decl. ¶ 7; Compl. ¶¶ 1, 13. Actian has offices in Texas, and its CEO
                       3   works for Actian out of the Atlanta, Georgia area. Emmons Decl. ¶¶ 8-9. SS&C Tech was not
                       4   involved with the Actian-Pervasive transaction. Bremner Decl. ¶ 7.
                       5          The OEM Agreement expired on March 20, 2024. Compl. ¶ 14. When it was unable to
                       6   extort from SS&C Tech the renewal terms that Actian wanted, Actian for the first time declared
                       7   “breach” and initiated this lawsuit. Bremner Decl. ¶ 13. Actian now alleges claims for: (1)
                       8   breach of contract of the OEM Agreement, as well as its EULAs (Compl. ¶¶ 25-31); (2) direct
                       9   and indirect copyright infringement (id. ¶¶ 32-42); and (3) negligence (id. ¶¶ 43-48).
                      10   III.   ARGUMENT.
                      11          A.      THE COURT DOES NOT HAVE PERSONAL JURISDICTION OVER
                                          SS&C TECH, AND THUS, THE COMPLAINT SHOULD BE DISMISSED
                      12                  PURSUANT TO FRCP 12(B)(2).
                      13          The Court should dismiss the Complaint pursuant to FRCP 12(b)(2), because the Court
                      14   lacks personal jurisdiction over SS&C Tech, and Actian has not met and cannot meet its burden
                      15   to demonstrate either general or specific personal jurisdiction.
                      16                  1.      Legal Standard For Dismissal Under FRCP 12(b)(2).
                      17          Where, as here, “a defendant moves to dismiss a complaint for lack of personal
                      18   jurisdiction, the plaintiff bears the burden of demonstrating that jurisdiction is appropriate.”
                      19   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004); see also AT&T
                      20   Co. v. Compagnie Bruxelles Lambert, 94 F.3d 586, 588 (9th Cir. 1996) (“As the party seeking to
                      21   invoke federal jurisdiction, [the plaintiff] has the burden of establishing its existence”). “The
                      22   court may consider evidence presented in affidavits to assist it in its determination and may order
                      23   discovery on the jurisdictional issues.” Doe v. Unocal Corp., 248 F.3d 915, 922 (9th Cir. 2001),
                      24   abrogated on other grounds by Williams v. Yamaha Motor Co. Ltd., 851 F.3d 1015, 1024 (9th
                      25   Cir. 2017).
                      26          Federal courts “follow state law in determining the bounds of their jurisdiction over
                      27   persons.” Daimler AG v. Bauman, 571 U.S. 117, 125 (2014). Because “California’s long-arm
                      28   statute allows the exercise of personal jurisdiction to the full extent permissible under the U.S.
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                       1   Constitution,” the jurisdictional analyses under state law and federal law centers on whether
                       2   exercising jurisdiction comports with due process. Daimler, 571 U.S. at 125; see also Cal. Code
                       3   Civ. Proc. § 410.10. Due process imposes on Actian the burden to demonstrate that SS&C Tech
                       4   has “minimum contacts” with California “such that the maintenance of the suit does not offend
                       5   traditional notions of fair play and substantial justice.” Picot v. Weston, 780 F.3d 1206, 1211 (9th
                       6   Cir. 2015) (quoting Int’l Shoe Co. v. State of Washington, 326 U.S. 310, 316 (1945) (internal
                       7   quotations omitted)). “Depending on the strength of those contacts, there are two forms that
                       8   personal jurisdiction may take: general and specific.” Picot, 780 F.3d at 1211.
                       9          To establish general jurisdiction, a plaintiff must meet the heavy burden of showing that
                      10   the defendant’s contacts with California are “so continuous and systematic as to render the
                      11   foreign corporation essentially at home in the forum State.” Ranza v. Nike, Inc., 793 F.3d 1059,
                      12   1069 (9th Cir. 2015) (quoting Daimler, 571 U.S. at 133 n.11). Courts in this district have
                      13   determined that a defendant is “at home” in the forum state when (1) it is incorporated in the
                      14   forum; (2) it has its principal place of business in the forum; or (3) if in “exceptional
                      15   circumstances,” it is “essentially at home” in the forum even though it is not incorporated there
                      16   and does not have its principal place of business there. Id. at 1069-70.1
                      17          For specific jurisdiction, courts in the Ninth Circuit apply the following three-part test:
                      18          1. The non-resident defendant must purposefully direct his activities or
                                  consummate some transaction with the forum or resident thereof; or perform
                      19          some act by which he purposefully avails himself of the privilege of conducting
                                  activities in the forum, thereby invoking the benefits and protections of its laws;
                      20
                                  2. The claim must be one which arises out of or relates to the defendant’s forum-
                      21          related activities; and
                      22          3. The exercise of jurisdiction must comport with fair play and substantial
                                  justice, i.e. it must be reasonable.
                      23

                      24   Picot, 780 F.3d at 1211. If—and only if—Actian satisfies the burden for the first two prongs,
                      25

                      26   1
                             In Daimler, the Supreme Court identified Perkins v. Benguet Consolidated Mining Co., 342
                           U.S. 437 (1952), as an example of such an exceptional case. See Daimler, 571 U.S. at 139 n.19.
                      27   In Perkins, the Court concluded that a Philippines-based corporation was subject to general
                           jurisdiction in Ohio because the company temporarily relocated its principal place of business to
                      28   Ohio during the Japanese occupation of the Philippines. See Perkins, 342 U.S. at 447-48.
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                       1   “the burden shifts” to SS&C Tech to establish that the exercise of personal jurisdiction over it
                       2   “would not be reasonable.” Picot, at 1211-1212, 1215 n.4.
                       3                  2.      This Court Lacks General Jurisdiction Over SS&C Tech.
                       4          Actian comes nowhere close to pleading any of the factors that would demonstrate SS&C
                       5   Tech is “at home” in California. To the contrary, Actian’s own allegations refute general
                       6   jurisdiction. The Complaint alleges that SS&C Tech “is a Connecticut corporation having its
                       7   headquarters at 80 Lamberton Road, Windsor, CT 06095.” Compl. ¶ 2. The most that Actian
                       8   alleges is that SS&C Tech, like many large companies, has certain incidental operations in the
                       9   state, but this has never been held sufficient to support general jurisdiction. For example, while
                      10   Actian alleges that SS&C Tech’s maintenance of four offices within California constitutes
                      11   “systematic and continuous business activities in California” (Compl. ¶ 7), that is not an
                      12   “exceptional circumstance” to render SS&C Tech “at home” in California. See, e.g., Aldrich v.
                      13   Nat’l Collegiate Athletic Ass’n, 484 F. Supp. 3d 779, 793-94 (N.D. Cal. 2020) (holding that the
                      14   presence of 58 of NCAA’s members and its “physical and economic presence in California” did
                      15   not confer general jurisdiction over the NCAA); Corcoran v. CVS Health Corp., 169 F. Supp. 3d
                      16   970, 980 (N.D. Cal. 2016) (“Plaintiffs’ contention that CVS Health has a substantial number of
                      17   pharmacies, maintains two distribution centers, and solicits employees in California is not
                      18   persuasive.”); Rosenwald v. Kimberly Clark Corp., No. 3:22-cv-04993-LB, 2023 WL 5211625, at
                      19   *6 (N.D. Cal. Aug. 14, 2023) (holding that the presence of three locations, one manufacturing
                      20   plant, and various high level executives in California did not subject the defendant to general
                      21   jurisdiction). SS&C Tech is a Delaware corporation with 36 offices and employees throughout
                      22   the nation spread across 31 different states. See Bremner Decl. ¶ 4. Under Actian’s paradigm,
                      23   SS&C Tech would be subject to general jurisdiction in all 31 states. But that is a result Daimler
                      24   expressly rejected. See 571 U.S. at 137 (rejecting “the exercise of general jurisdiction in every
                      25   State in which a corporation engages in a substantial, continuous, and systematic course of
                      26   business … [as] unacceptably grasping.”) (internal quotations omitted).
                      27          Having offices or operations or doing business in California is not enough. Many large
                      28   companies have offices or do business here; only those that are “at home” in California can be
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                       1   generally amenable to suit in the state. SS&C Tech is not California-based and in no way can be
                       2   said to be at home in California. It is not subject to general jurisdiction here.
                       3                  3.      This Court Also Lacks Specific Jurisdiction Over SS&C Tech.
                       4                          a.      SS&C Tech Did Not Purposefully Avail Itself Of This Forum.
                       5          There is no specific jurisdiction over SS&C Tech because it did not direct any conduct
                       6   into California or purposefully avail itself of the forum. Quite to the contrary, it negotiated an
                       7   OEM Agreement containing a New York choice of law provision with a Texas company, under
                       8   which it agreed that it could be sued in Texas or New York. The mere fact that Actian, a
                       9   California company, later acquired SS&C Tech’s contract counterparty is not conduct by SS&C
                      10   Tech directed into the forum and cannot support personal jurisdiction over SS&C Tech.
                      11          “The first prong of the [specific jurisdiction] test is analyzed under either a ‘purposeful
                      12   availment’ standard or a ‘purposeful direction’ standard, which are two distinct concepts.” Mehr
                      13   v. Fed’n Internationale de Football Ass’n, 115 F. Supp. 3d 1035, 1048 (N.D. Cal. 2015) (citing
                      14   Washington Shoe Co. v. A–Z Sporting Goods Inc., 704 F.3d 668, 672 (9th Cir. 2012)). Courts
                      15   apply the “purposeful availment” standard to “claims sounding in contract,” and the “purposeful
                      16   direction” standard to “claims sounding in tort.” Picot, 780 F.3d at 1212. Even so, “it is well
                      17   established that” the purposeful direction “test applies only to intentional torts, not to …
                      18   negligence claims[.]” Holland America Line Inc. v. Wärtsilä North America, Inc., 485 F.3d 450,
                      19   460 (9th Cir. 2007).2 Here, all three of Actian’s claims sound in contract. Indeed, even its
                      20   copyright infringement claim is predicated on allegations that SS&C Tech exceeded the scope of
                      21   its license under the OEM Agreement. Thus, the relevant inquiry here is whether SS&C Tech
                      22   “‘purposefully avail[ed]’ itself of ‘the privilege of conducting activities within the forum State,
                      23   thus invoking the benefits and protections of its laws.’” Mehr, 115 F. Supp. 3d at 1049 (quoting
                      24   Schwarzenegger, 374 F.3d at 802). Actian has not (and cannot) established this.
                      25          Actian’s assertion of proper jurisdiction in this forum relies on the conclusory allegation
                      26   that the forum-selection clause in an unspecified EULA governs here. See Compl. ¶ 6 (“This
                      27
                           2
                            See also Mehr, 115 F. Supp. 3d at 1049 (analyzing the negligence claim under purposeful
                      28   availment test).
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                       1   Court has personal jurisdiction over Defendant, and venue is proper in this District, due to a
                       2   forum selection clause.”) (citing Section 12.3 of Version 13 of EULA). But “[j]urisdictional facts
                       3   cannot . . . be established by [such] nonspecific, conclusory statements” or allegations. Butcher’s
                       4   Union Local No. 498, United Food & Commercial Workers v. SDC Inv., Inc., 788 F.2d 535, 540
                       5   (9th Cir. 1986). As argued at length below (see infra, pp. 14-15), Actian alleges no facts
                       6   demonstrating that SS&C Tech ever entered into any version of the “exemplary” EULAs it
                       7   identifies, much less the forum-selection clauses therein. In fact, SS&C Tech never entered into
                       8   any version of any EULA with Actian or its predecessor. Bremner Decl. ¶ 10. The only
                       9   agreement SS&C Tech entered into was the OEM Agreement, which by its terms “constitute[d]
                      10   the entire agreement between the parties.” Compl. Ex. F (OEM Agreement) at p. 1. The terms of
                      11   the OEM Agreement demonstrate that neither SS&C Tech nor Pervasive (or Actian)
                      12   “purposefully invoked the benefits and protections of [California’s] laws.” Burger King Corp. v.
                      13   Rudzewicz, 471 U.S. 462, 481-82 (1985). Rather, the OEM Agreement is governed by New York
                      14   law, and contains a forum-selection clause designating the courts of Texas and New York as
                      15   proper venues. Actian does not plead and cannot contend that there is any valid legal basis to
                      16   disregard the parties’ express intention for this dispute to be heard by a Texas or New York
                      17   court—and not by a California court. See Atl. Marine Constr. Co., Inc. v. U.S. Dist. Court for W.
                      18   Dist. of Tex., 571 U.S. 49, 63-64 (2013) (holding that because a forum-selection clause
                      19   “represents the parties’ agreement as to the most proper forum,” it “should control except in
                      20   unusual cases.”).
                      21          Moreover, the OEM Agreement does not reference—nor have any connection with—
                      22   California. Both Pervasive and SS&C Tech were non-California entities; Pervasive was
                      23   headquartered in Austin, Texas, and SS&C Tech is headquartered in Windsor, Connecticut. See
                      24   Bremner Decl. ¶ 3; Compl. ¶ 2, Ex. F at p. 1. The OEM Agreement was negotiated and executed
                      25   entirely outside of California. See Emmons Decl. ¶¶ 4-7. All of the SS&C Tech employees
                      26   selling the OEM Product (i.e., those availing themselves of the rights given to SS&C Tech under
                      27   the OEM Agreement) work outside of California. See Bremner Decl. ¶¶ 4, 11. And SS&C Tech
                      28   does not host the OEM Product for any customers on California-based servers. Id. ¶ 9. Due
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                       1   process ensures that “a defendant will not be haled into a jurisdiction solely as a result of [such]
                       2   random, fortuitous, or attenuated contacts” as Pervasive’s successor corporation, Actian,
                       3   happening to be located in California. Burger King, 471 U.S. at 475 (citation and quotations
                       4   omitted). And, when analyzing “purposeful availment” or “purposeful direction,” courts do not
                       5   look to actions by the plaintiff; rather, courts “must look to the defendant’s ‘own contacts’ with
                       6   the forum, not to the defendant’s knowledge of [another party’s] connections to a forum.” Axiom
                       7   Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1070 (9th Cir. 2017) (quoting Walden v.
                       8   Fiore, 571 U.S. 277, 289 (2014)).3 As a matter of law, moreover, a “contract with an out-of-state
                       9   party alone can[not] automatically establish sufficient minimum contacts in the other party’s
                      10   home forum.” Burger King, 471 U.S. at 478 (emphasis in original). Rather, courts take a “highly
                      11   realistic” approach and consider factors such as: “prior negotiations and contemplated future
                      12   consequences, along with the terms of the contract and the parties’ actual course of dealing [to
                      13   determine] whether the defendant purposefully established minimum contacts within the forum.”
                      14   Id. at 479. As discussed above, none of these factors have any connection to California.
                      15          Actian has not pled and cannot plead that SS&C Tech did anything in California or
                      16   directed any conduct to the state in such a way and to such an extent that SS&C Tech could fairly
                      17   have been expected to be haled into court in California. Actian has not sustained its burden of
                      18   proving facts that would support specific personal jurisdiction over SS&C Tech.
                      19                          b.      Actian’s Claims Do Not Arise Out Of Forum-Related Contacts,
                                                          Because There Are No Such Contacts.
                      20

                      21          Having failed to allege facts showing that SS&C Tech “purposefully established minimum
                      22   contacts with” this forum, Actian cannot show that its claims “arise[s] from those” non-existent
                      23   “contacts.” Doe, 248 F.3d at 925. The only contacts Actian alleges between California and
                      24   SS&C Tech are SS&C Tech’s maintenance of four offices in California—none of which SS&C
                      25   Tech owns. See Bremner Decl. ¶ 4. In fact, the Complaint identifies no conduct by SS&C Tech
                      26
                           3
                            Perhaps given the clarity of the Court’s decisions in Burger King and Walden, SS&C Tech has
                      27   been unable to find a single decision where a court exercised personal jurisdiction over a
                           defendant merely because the company that acquired the defendant’s contracting counterparty
                      28   happened to reside in a court’s forum state.
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                       1   in or directed to California, and SS&C Tech does not even have a single employee in California
                       2   affiliated in any way with the OEM Agreement or the OEM Product. See id. ¶¶ 4, 11.
                       3   Accordingly, Actian cannot show that its alleged injuries arise out of or relate to SS&C Tech
                       4   contacts with California.
                                                 c.        The Exercise Of Jurisdiction Over SS&C Tech Would Be
                       5                                   Unreasonable.
                       6           Even if Actian established purposeful availment and that its claims arise out of SS&C
                       7   Tech’s contacts with this forum (they do not),4 Actian cannot establish that the exercise of
                       8   jurisdiction over SS&C Tech is reasonable or fair. Courts consider the following factors to
                       9   determine if exercising jurisdiction over a nonresident defendant comports with “fair play and
                      10   substantial justice”:
                      11           (1) the extent of the defendants’ purposeful interjection into the forum state’s affairs; (2)
                                   the burden on the defendant of defending in the forum; (3) the extent of conflict with the
                      12
                                   sovereignty of the defendants’ state; (4) the forum state’s interest in adjudicating the
                      13           dispute; (5) the most efficient judicial resolution of the controversy; (6) the importance of
                                   the forum to the plaintiff’s interest in convenient and effective relief; and (7) the existence
                      14           of an alternative forum.
                      15   Core-Vent Corp. v. Nobel Indus. AB, 11 F.3d 1482, 1487-88 (9th Cir. 1993). As discussed below,

                      16   these factors weigh against exercising personal jurisdiction over SS&C Tech.

                      17           (1) The extent of SS&C Tech’s purposeful interjection into the forum state’s affairs: As

                      18   discussed above, SS&C Tech has not purposefully injected itself into the affairs of California.

                      19   See supra Section III(A)(3)(a); see also Core-Vent, 11 F.3d at 1488 (“[T]he smaller the element

                      20   of purposeful interjection, the less is jurisdiction to be anticipated and the less reasonable is its

                      21   exercise.”) (citations omitted). No voluntary act in or directed to California is alleged here. To

                      22   the contrary, SS&C Tech expressly intended and specified in the OEM Agreement that this

                      23   dispute was to be decided by courts located in New York or Texas, and governed by New York

                      24   law.

                      25           (2) The burden on SS&C Tech of defending in this forum: SS&C Tech is located across

                      26

                      27   4
                            Because Actian has not demonstrated that “defendant purposefully established minimum
                           contacts with a forum state, and that the claims at issue arise from those contacts,” “the Court
                      28   need not reach the third prong of the specific jurisdiction test.” See Doe, 248 F.3d at 925.
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                       1   the country in Connecticut. The OEM Agreement was negotiated in Connecticut (SS&C Tech)
                       2   and Texas (Pervasive), where most of the relevant witnesses are likely located. It would be
                       3   burdensome to subject SS&C Tech to jurisdiction here. That is precisely why the OEM
                       4   Agreement’s controlling forum-selection clause balanced the burden between SS&C Tech and
                       5   Actian’s predecessor by designating New York County (New York) and Travis County (Texas) as
                       6   the proper forums for disputes. Asserting jurisdiction in California would be inefficient given
                       7   that SS&C Tech and its agent witnesses reside in either Connecticut, New York, or
                       8   Massachusetts, and the alleged events Actian complains of occurred mainly in Connecticut where
                       9   SS&C Tech is headquartered. See Fields v. Sedgwick Associated Risks, Ltd., 796 F.2d 299, 302
                      10   (9th Cir. 1986) (“The site where the events in question took place and most of the evidence is
                      11   located is usually the most efficient forum.”); see also e.g. Bremner Decl. ¶ 2 (witness located in
                      12   Massachusetts); Emmons Decl. ¶¶ 2, 4-5 (witness located in Connecticut and describing
                      13   witnesses located in Connecticut and New York).
                      14           (3) The extent of conflict with the sovereignty of the defendant’s state: Exercising
                      15   jurisdiction as demanded by Actian conflicts with the sovereignty of New York. SS&C Tech and
                      16   Actian’s predecessor entered into an agreement specifically opting for any litigation to be
                      17   governed by New York law in a New York court. Actian’s lawsuit circumvents these bargained
                      18   for provisions by bringing this suit in California. In asking a California court to interpret and
                      19   apply New York law of a contract which designates New York courts as the proper venue to hear
                      20   such disputes, Actian arguably created a conflict with the sovereignty of New York’s courts.
                      21           (4) The forum state’s interest in adjudicating the dispute: Because the OEM Agreement
                      22   was entered into between Pervasive (a Texas company) and SS&C Tech (a Connecticut
                      23   company), and no wrongful acts are alleged to have occurred in this state, California has little
                      24   interest in adjudicating this case.
                      25           (5) The most efficient judicial resolution of the controversy: For the same reasons stated
                      26   under factor (2), this factor also favors SS&C Tech.
                      27           (6) The importance of the forum to the plaintiff’s interest in convenient and effective
                      28   relief: While Actian is a California corporation and a California forum would thus be convenient
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                       1   to it, a Texas forum would be equally convenient for it. Indeed, Actian, which acquired
                       2   Pervasive, has offices in Texas and its CEO resides in Atlanta, which is closer to Texas than
                       3   California. Moreover, Actian cannot show that litigating this matter in California will be more
                       4   effective than New York or Texas. As detailed above, the majority of the witnesses and events
                       5   underlying this dispute are outside of California. Thus, Actian cannot show that a California
                       6   court is more convenient or effective than a state or federal court in New York or Texas.
                       7           “In any event, neither the Supreme Court nor [the 9th Circuit] has given much weight to
                       8   inconvenience to the plaintiff.” Core-Vent Corp., 11 F.3d at 1490. Obviously, Actian would
                       9   prefer to maintain this suit here because it is located here. But, “[a] mere preference on the part
                      10   of the plaintiff for its home forum does not affect the balancing; indeed, this factor is insignificant
                      11   in this case.” Id.
                      12           (7) The existence of an alternative forum: Actian “bears the burden of proving the
                      13   unavailability of an alternative forum,” and cannot meet that burden here. Harris Rutsky & Co.
                      14   Ins. Servs., Inc. v. Bell & Clements Ltd., 328 F.3d 1122, 1133-34 (9th Cir. 2003). SS&C Tech
                      15   expressly consented to jurisdiction in New York and Texas and Actian has not alleged a single
                      16   fact showing that it would somehow be “precluded from suing” SS&C Tech in New York or
                      17   Texas, or that its “claims cannot be effectively remedied there.” Core-Vent Corp., 11 F.3d at
                      18   1490. Nor can it make any such showing.
                      19           B.      In The Alternative, SS&C Tech Moves To Dismiss Pursuant To FRCP
                                           12(b)(3).
                      20

                      21           Should this Court not dismiss this action under Rule 12(b)(2), it should do so under Rule
                      22   12(b)(3) because venue is improper in this District. Although Actian alleges that venue is proper
                      23   in this District pursuant to the “exemplary” EULA’s forum-selection clause (Compl. ¶ 6), and
                      24   pursuant to 28 U.S.C. § 1391 (Compl. ¶ 9), it is wrong as a matter of law.
                      25           “Once a defendant challenges venue, the plaintiff has the burden of demonstrating that
                      26   venue is proper in the chosen district. A plaintiff asserting multiple claims must establish that
                      27   venue is proper as to each claim. In determining whether venue is proper, courts may consider
                      28   evidence outside the pleadings.” In re Nissan N. Am., Inc. Litig., No. 18-cv-07292-HSG, 2019
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                       1   WL 4601557, at *3 (N.D. Cal. Sept. 23, 2019) (citations omitted). The statute that governs the
                       2   venue of all civil actions brought in federal district courts, 28 U.S.C. Section 1391(b), allows for a
                       3   civil action to be brought only in: (1) a judicial district in which any defendant resides, if all
                       4   defendants are residents of the state in which the district is located; (2) a judicial district in which
                       5   a substantial part of the events or omissions giving rise to the claim occurred, or a substantial part
                       6   of property that is the subject of the action is situated; or (3) if there is no district in which an
                       7   action may otherwise be brought as provided in this section, any judicial district in which any
                       8   defendant is subject to the court’s personal jurisdiction with respect to such action.
                       9           None of Section 1391(b)’s venue provisions apply here. Section 1391(b)(1) does not
                      10   apply because SS&C Tech does not reside in California. Section 1391(b)(2) does not apply
                      11   because all of the alleged events giving rise to Actian’s claims occurred outside of California, as
                      12   explained above. Finally, Section 1391(b)(3) is inapplicable because, as SS&C Tech
                      13   demonstrated above, this Court lacks general or specific jurisdiction over SS&C Tech.
                      14           Under 28 U.S.C. § 1406(a), if the Court finds that venue in this District is improper, “[it]
                      15   shall dismiss, or if it be in the interest of justice, transfer such case to any district or division in
                      16   which it could have been brought.” SS&C Tech respectfully requests the Court to exercise its
                      17   discretion to dismiss the Complaint for improper venue.
                      18           C.      In The Alternative, SS&C Tech Moves To Dismiss Pursuant To FRCP
                                           12(b)(6).
                      19

                      20           “To survive a motion to dismiss, a complaint must contain sufficient factual matter,
                      21   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556
                      22   U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is
                      23   plausible “when the plaintiff pleads factual content that allows the court to draw the reasonable
                      24   inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.
                      25   Therefore, a plaintiff must set forth factual allegations sufficient to allow “for more than sheer
                      26   possibility that a defendant has acted unlawfully.” Id. Although the Court must assume the truth
                      27   of the facts alleged, the Court is “not bound to accept as true [] legal conclusion[s] couched as . . .
                      28   factual allegation[s].” Twombly, 550 U.S. at 555. A complaint must contain more than just
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                       1   “threadbare recitals of a cause of action’s elements, supported by mere conclusory statements.”
                       2   Iqbal, 556 U.S. at 663.
                       3                  1.      Actian Fails to State an Actionable Claim For Breach of Contract
                                                  With Respect To The EULAs (Count I).
                       4

                       5          This Court should dismiss Actian’s claim that it breached the EULAs because Actian
                       6   failed to plausibly allege SS&C Tech was bound by them. This is fatal to Actian’s claim.
                       7          Actian merely alleged that the software at issue is protected by EULAs and then asserts
                       8   that SS&C Tech agreed to certain provisions in one or more of those EULAs, including the forum
                       9   selection clause. But Actian’s own allegations in other portions of the Complaint (including the
                      10   exhibits attached thereto) undermine Actian’s unsupported theory. Therefore, the Court can—and
                      11   should—completely disregard such allegations when determining if this claim is adequately pled.
                      12   See Lamda Sols. Corp. v. HSBC Bank USA, N.A., 574 F. Supp. 3d 205, 216-17 (S.D.N.Y. 2021)
                      13   (granting motion to dismiss where the “more specific factual allegations in the complaint
                      14   contradict[ed] Lamda’s claim that HSBC expressly consented to issue an assignment of
                      15   proceeds.”); DPWN Holdings (USA), Inc. v. United Air Lines, Inc., 747 F.3d 145, 151–52 (2d Cir.
                      16   2014) (“Although factual allegations of a complaint are normally accepted as true on a motion to
                      17   dismiss, that principle does not apply to general allegations that are contradicted by more specific
                      18   allegations in the [c]omplaint.”) (internal citation and quotation marks omitted).5
                      19          Nowhere in Actian’s barebones Complaint does it plausibly allege that SS&C Tech ever
                      20   entered into any version of any EULA with Actian or its predecessor. Instead, it conclusorily
                      21   alleges that SS&C Tech agreed to “one or more” of five different versions of its EULA, and then
                      22   attaches various different “exemplary Version[s]” of the EULA to its Complaint. See Compl. ¶
                      23   12, Exs. A-E (emphasis added). The failure of Actian to supply any actual EULA entered into by
                      24   SS&C Tech is not accidental. Critically, as in Lamda, Actian’s vague and conclusory allegation
                      25   is contradicted by the fact SS&C Tech did not agree to be bound by any of the various versions of
                      26   the EULAs affixed to Actian’s Complaint, which the Complaint identifies only as “exemplary”
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                           5
                            The OEM Agreement requires the parties’ disputes to be governed by New York law. See
                      28   Agreement § 15.4.1. This Motion thus applies New York law.
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                       1   and not as the actual agreements to which SS&C Tech agreed. See id. Actian was obligated to
                       2   identify a specific agreement that binds SS&C Tech and aver that SS&C Tech entered into it.
                       3   Actian does neither. It does not know which EULA applies, nor can it identify any that SS&C
                       4   Tech actually assented to, because it never assented to any.
                       5          It is not surprising that SS&C Tech never entered into a EULA, because the Complaint
                       6   makes clear that SS&C Tech is not an “end user” that would be covered by such an agreement.
                       7   As Actian alleges, SS&C Tech was an OEM—a distributor—of Actian’s software, not an “end
                       8   user downloading or installing the software” (Compl. Exs. A-E at ECF p. 2) to whom the EULAs
                       9   may actually apply. See Compl. ¶ 2 (“SS&C [Tech] develops, markets, sells, distributes and
                      10   hosts computer programs and systems”). There is no “End User License Agreement” with SS&C
                      11   Tech because SS&C Tech was never an end user; it was SS&C Tech’s customers who were
                      12   provided EULAs. Accordingly, Actian’s own allegations negate any breach of the EULAs. See
                      13   TV Tech Managers, Inc. v. Cohen, 227 A.D.3d 838, 841, 212 N.Y.S. 3d 647 (2024) (granting
                      14   motion to dismiss breach of contract claim where, as here, the plaintiff “failed to allege that [the
                      15   defendant] signed the agreement”).
                      16                   2.     Actian Fails To State An Actionable Claim For Direct Or Indirect
                                                  Copyright Infringement (Count II).
                      17

                      18          Actian’s barebones allegations give no notice to SS&C Tech as to what specific
                      19   copyrighted material it allegedly infringed or how. Plaintiff itself is not alleged to be an end user
                      20   of the software, but was permitted to distribute Plaintiff’s software under the OEM Agreement.
                      21   According to Actian, “SS&C [Tech] embeds low-price editions of the Software whose licenses
                      22   prohibit those non-internal uses and servicing of third parties.” Compl. ¶ 35. Thus, the face of
                      23   the Complaint indicates that SS&C Tech distributed licensed versions of the Software to third
                      24   parties. What Actian really appears to be saying—though, the Complaint is extremely vague on
                      25   the topic—is that SS&C Tech’s customers exceed the scope of those licenses. That is not direct
                      26   copyright infringement by SS&C Tech, and the Complaint is devoid of facts that would support
                      27   such a claim.
                      28          Actian’s effort to indirectly tag SS&C Tech with alleged copyright infringement of third
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                       1   parties fails for similar lack of factual content. As to its claim of “contributory” copyright
                       2   infringement (Compl. ¶ 35), Actian has not alleged facts showing that SS&C Tech had “actual or
                       3   constructive knowledge of specific and identifiable infringements of individual items, not [just] a
                       4   general awareness that there are infringements.” Lefkowitz v. John Wiley & Sons, Inc., No. 13
                       5   Civ. 6414(KPF), 2014 WL 2619815, at *11 (S.D.N.Y. June 2, 2014) (citation and quotation
                       6   omitted); see also State St. Glob. Advisors Tr. Co. v. Visbal, 431 F. Supp. 3d 322, 358 (S.D.N.Y.
                       7   2020) (“[M]ore than a generalized knowledge by the defendant of the possibility of infringement
                       8   is required.”) (internal quotations omitted).6 As noted, Actian alleges only that SS&C Tech
                       9   includes “low-price editions of the Software whose licenses prohibit those non-internal uses and
                      10   servicing of third parties” but alleges no facts to suggest that SS&C Tech knew that any of those
                      11   third parties violated that license, or how they may have done so. Moreover, the Complaint does
                      12   not indicate what specific materials were alleged to have been contributorily infringed, or even by
                      13   whom, much less that SS&C Tech was aware of it. “At most, [Actian] has pleaded that [SS&C
                      14   Tech] had generalized knowledge of the possibility that third parties might infringe [Actian’s]
                      15   copyright. That is insufficient to state a claim for contributory copyright infringement.” Visbal,
                      16   431 F. Supp. 3d at 358.7 Actian also failed to allege that SS&C Tech “acted in concert with” any
                      17   alleged direct infringers. Id. at 359. These deficiencies are fatal to Actian’s contributory
                      18   infringement claim.
                      19          Actian also asserts in conclusory fashion that SS&C Tech committed “vicarious
                      20   infringement” (Compl. ¶ 37) but this fails for similar reasons. “To state a claim for vicarious
                      21   infringement, a plaintiff must allege facts that the defendant had the right and
                      22
                           6
                      23     See also Perfect 10, Inc. v. Giganews, Inc., No. CV11-07098 AHM (SHx), 2013 WL 2109963,
                           at *10 (C.D. Cal. Mar. 8, 2013), aff’d, 847 F.3d 657 (9th Cir. 2017) (The plaintiff must show that
                      24   the defendant “knows that there has been a concrete incident of infringement of a specific
                           copyrighted work.”); Harrington v. Pinterest, Inc., No. 5:20-cv-05290-EJD, 2021 WL 4033031,
                      25   at *4 (N.D. Cal. Sept. 3, 2021) (“knowledge for purposes of contributory infringement must be of
                           specific infringing material.”) (quoting Davis v. Pinterest, Inc., 2021 WL 879798, at *3 (N.D.
                      26   Cal. Mar. 9, 2021)).
                           7
                             See also Caribbean Queen, Inc. v. Lee, No. CV-20-09637 AB (JCx), 2021 WL 3215110, at *5
                      27   (C.D. Cal. Mar. 24, 2021) (dismissing the contributory infringement claim where, as here, the
                           complaint was “entirely devoid of any factual allegations that would suggest [defendant] knew, or
                      28   had reason to know, of the direct infringement of Plaintiff’s copyrights[.]”)
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                       1   ability to supervise that coalesced with an obvious and direct financial interest in the exploitation
                       2   of copyrighted materials.” Hartmann v. Popcornflix.com LLC, 690 F. Supp. 3d 309, 320
                       3   (S.D.N.Y. 2023). The Complaint’s conclusory recitation of the “right and ability to supervise
                       4   third parties’ infringing activity” (Compl. ¶ 37) is insufficient. Courts “have found such
                       5   allegations to be insufficient, especially in light of the ‘cut and paste’ approach in which many of
                       6   [Actian’s] pleadings have been drafted without particularized details about [SS&C Tech].” J & J
                       7   Sports Prods., No. 18 Civ. 2547 (ARR) (VMS), 2018 WL 7916309, at *7 (E.D.N.Y. Nov. 21,
                       8   2018); see also Zuffa, LLC v. Paz, No. 22-CV-3258, 2023 WL 8856878, at *6 (E.D.N.Y. Dec. 22,
                       9   2023) (A complaint must contain “specific allegations” that “allege ‘nonformulaic facts’ to
                      10   establish [the defendant’s] ‘right and ability to supervise’”).8
                      11          Moreover, Actian does not allege any “direct” financial interest in any third party
                      12   infringement, but merely an indirect one, through “customers continuing to pay SS&C Tech for
                      13   support and ongoing service for their OEM Products.” Compl. ¶ 38. Such a generalized business
                      14   interest is not the kind of direct financial benefit necessary to support the claim. See Softel, Inc. v.
                      15   Dragon Med. & Sci. Commc’ns, Inc., 118 F.3d 955, 971 (2d Cir. 1997) (dismissing vicarious
                      16   infringement claim where, as here, the asserted interest was “too attenuated to establish a
                      17   sufficiently ‘direct’ financial interest in the exploitation of copyrighted materials.”).9
                      18          Actian fails to state a viable claim of copyright infringement and Count II of the
                      19   Complaint should therefore be dismissed.
                      20                  3.      Actian Fails To State An Actionable Claim For Negligence (Count III).
                      21          Actian’s negligence claim (Count III) should be dismissed because it is barred by the
                      22   economic loss rule. New York law prohibits efforts to inject concepts of negligence into
                      23   8
                             See also Caribbean Queen, 2021 WL 3215110, at *4 (“This element requires more than simply
                      24   the demonstration of a right to supervise, but rather that the individual had actual supervisory
                           power and still failed to stop the infringing conduct. Furthermore, if the right and ability to
                      25   supervise is shown, the plaintiff still must demonstrate that the defendant failed to police the
                           content to the fullest extent.”) (internal citations and quotation marks omitted).
                      26   9
                             See also UMG Recordings, Inc. v. Veoh Networks Inc., No. CV 07-5744 AHM (AJWx), 2009
                           WL 334022, at *6 (C.D. Cal. Feb. 2, 2009), aff’d sub nom. UMG Recordings, Inc. v. Shelter
                      27   Capital Partners LLC, 718 F.3d 1006 (9th Cir. 2013) (dismissing vicarious infringement claim
                           where, as here, the “financial benefit is too far removed from the alleged infringement to be
                      28   considered a ‘direct’ financial interest.”).
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                       1   contractual relationships like this one. “New York’s economic loss doctrine is a jurisprudential
                       2   principle that a plaintiff cannot recover in tort for purely economic losses caused by the
                       3   defendant’s negligence.” Travelers Cas. and Sur. Co. v. Dormitory Authority-State of New York,
                       4   734 F. Supp. 2d 368, 378 (S.D.N.Y. 2010). The “general rule under New York law is that
                       5   economic loss is not recoverable under a theory of negligence[.]” Computech Int’l, Inc. v.
                       6   Compaq Computer Corp., No. 02–CV–2628 (RWS), 2004 WL 1126320, at *10 (S.D.N.Y. May
                       7   21, 2004); see also In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp. 3d 372, 431
                       8   (S.D.N.Y. 2017), modified on reconsideration, 2017 WL 3443623 (S.D.N.Y. Aug. 9, 2017)
                       9   (holding that the economic loss rule “indisputably applies to claims sounding in negligence”).
                      10   Here, Actian’s negligence claim is based on purely economic losses; there is no factual allegation
                      11   that it suffered any physical damages. See Compl. ¶ 48 (alleging harms for “money, and other
                      12   resources in efforts to investigate”). Therefore, it is legally barred and must be dismissed.
                      13          Finally, Actian’s negligence claim must also be dismissed because it is not independent of
                      14   its breach of contract claim; its negligence claim is, in effect, a breach of contract claim
                      15   masquerading as a tort claim. This renders the negligence claim fatally deficient under New York
                      16   law for two inter-related reasons. First, “[i]t is a well-established principle that a simple breach
                      17   of contract is not to be considered a tort unless a legal duty independent of the contract itself has
                      18   been violated.” Clark-Fitzpatrick, Inc. v. Long Island R.R. Co., 70 N.Y.2d 382, 389 (1987). The
                      19   Complaint is wholly devoid of any such allegations—it focuses entirely on SS&C Tech’s
                      20   purported contractual obligations. Therefore, an affirmative element of the negligence claim (a
                      21   duty to the plaintiff) is missing and this claim must fail. Second, “[i]t is well established that
                      22   where the basis of a party’s claim is a breach of solely contractual obligations, such that the
                      23   plaintiff is merely seeking to obtain the benefit of the contractual bargain through an action in
                      24   tort, the claim is precluded as duplicative.” Fixed Income Shares: £Series M v. Citibank N.A.,
                      25   130 F. Supp. 3d 842, 857 (S.D.N.Y. 2015) (internal quotations and citation omitted); see also
                      26   Serengeti Express, LLC v. JP Morgan Chase Bank, N.A., No. 19-cv-5487 (PKC), 2020 WL
                      27   2216661, at *3 (S.D.N.Y. May 7, 2020) (dismissing negligence claim where, as here, the
                      28   plaintiffs’ negligence claim “implicate[d] the explicit and implicit obligations of the parties under
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                       1   the [contract] rather than any independent legal duty.”); Rider v. Uphold HQ Inc., 657 F. Supp. 3d
                       2   491, 502 (S.D.N.Y. 2023) (“Plaintiffs’ negligence claim must be dismissed as duplicative of their
                       3   contract claim. The plaintiffs have identified no legal duty independent of the
                       4   parties’ contractual relationship.”). The failures that Actian alleges constituted negligence are
                       5   clearly dependent on and arise out of a contractual relationship. See, e.g., Compl. ¶ 44 (“SS&C
                       6   [Tech] owed a duty of care to Actian to review and properly comply with the Agreements, and
                       7   thereafter to report to Actian, pay Actian, submit to audits by Actian and in all other respects
                       8   comply with the Agreements”). Whatever rights Actian may have here are governed by the
                       9   written OEM Agreement that covers the relevant subject matter. Tort law cannot be used to
                      10   expand or rewrite the parties’ bargain.
                      11   IV.    CONCLUSION.
                      12          For the foregoing reasons, this Court should grant SS&C Tech’s Rule 12(b)(2) motion to
                      13   dismiss for lack of personal jurisdiction. In the alternative, this Court should grant SS&C Tech’s
                      14   Rule 12(b)(3) motion to dismiss for improper venue. Lastly and in the alternative, this Court
                      15   should grant SS&C Tech’s Rule 12(b)(6) motion to dismiss Count I (with respect to the EULAs),
                      16   Count II, and Count III for failure to state a claim.
                      17   Dated: October 29, 2024                                 Respectfully submitted,
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                       1                                    CERTIFICATE OF SERVICE
                       2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
                       3
                           United States District Court for the Northern District of California by using the CM/ECF system
                       4
                           on October 29, 2024. I further certify that all participants in the case are registered CM/ECF
                       5
                           users and that service will be accomplished by the CM/ECF system.
                       6
                                  I certify under penalty of perjury that the foregoing is true and correct. Executed on
                       7

                       8   October 29, 2024.

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                                                                       /s/ Nicole L. Chessari
                      11                                               Nicole L. Chessari
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